           Case 1:21-cv-00796-LKG Document 37 Filed 03/05/21 Page 1 of 2




            In the United States Court of Federal Claims
                                                    )
    SHUTTLEWAGON, INC.,                             )
                                                    )
            Plaintiff,                              )
                                                    )
    v.                                              )
                                                    )
    THE UNITED STATES,                              )                No. 21-796C
                                                    )
            Defendant,                              )                Filed March 5, 2021
                                                    )
    v.                                              )
                                                    )
    INNOVATIVE QUALITY SOLUTIONS,                   )
    LLC,                                            )
                                                    )
           Defendant-Intervenor.                    )
                                                    )

                                          DISMISSAL ORDER

         On February 18, 2021, the government filed a motion to dismiss the above-captioned
CICA stay override matter for lack of subject-matter jurisdiction, upon the grounds that the
United States Department of Transportation has reinstated the stay at issue in this CICA stay
override matter. ECF No. 35. On March 1, 2021, plaintiff filed an out-of-time response to the
government’s motion to dismiss in which plaintiff consents to the dismissal of this matter
without prejudice. 1 ECF No. 36.

         In light of the foregoing, the Court:

         1. GRANTS plaintiff’s motion for leave to file, out of time, its response and opposition
            to the government’s motion to dismiss;

         2. GRANTS the government’s motion to dismiss;



1 Plaintiff also requests that the Court waive the fee to re-file this matter in the event that the government
reasserts the CICA stay override at issue in this matter and plaintiff brings another action in this Court to
challenge the override. Plaintiff’s request has not been properly made under the Rules of the United
States Court of Federal Claims. Rule 77.1(c) of the United States Court of Federal Claims.
  Case 1:21-cv-00796-LKG Document 37 Filed 03/05/21 Page 2 of 2




3. DENIES plaintiff’s motion for a preliminary injunction;

4. DENIES as moot plaintiff’s motion for the Court to retain jurisdiction; and

5. DISMISSES this matter without prejudice.

The Clerk’s Office is directed to enter judgment accordingly.

Each party to bear its own costs.

IT IS SO ORDERED.



                                         s/ Lydia Kay Griggsby
                                         LYDIA KAY GRIGGSBY
                                         Judge




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